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      In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 14-708V
                                     Filed: October 21, 2015

*************************                          UNPUBLISHED
MELODY HAWKINS, parent and                 *
natural guardian of T.H., a minor,         *
                                           *      Special Master Hamilton-Fieldman
                      Petitioner,          *
v.                                         *      Attorneys’ Fees and Costs; Reasonable
                                           *      Amount Requested to which Respondent
SECRETARY OF HEALTH                        *      Does Not Object.
AND HUMAN SERVICES,                        *
                                           *
                      Respondent.          *
*************************
John Robert Howie, Jr., Howie Law, P.C., Dallas, TX, for Petitioner.
Ann Martin, United States Department of Justice, Washington, DC, for Respondent.

                                               DECISION 1

        On August 5, 2014, Melody Hawkins (“Petitioner”) filed a petition for compensation on
behalf of her daughter, T.H., under the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. §§ 300aa-1 et seq. (2006) (“Vaccine Act”). Petitioner alleged that, as a result of the
administration of Tetanus-Diphtheria-acellular-Pertussis (“TDaP”), Hepatitis A (“Hep A”),
Varicella, and Gardasil (“HPV”) vaccinations on August 4, 2011, T.H. suffered from
encephalopathy and lower extremity weakness. On July 30, 2015, the undersigned dismissed
Petitioner’s case under Vaccine Rule 21(a).

        On October 21, 2015, the parties filed a Stipulation of Fact Concerning Attorneys’ Fees
and Costs. Pursuant to their stipulation, the parties have agreed to an award of $17,616.67 in
attorneys’ fees and costs. In accordance with General Order #9, Petitioner’s counsel represents
that Petitioner has not incurred any costs in pursuit of her claim.

       The undersigned finds that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate, pursuant to

1
 The undersigned intends to post this unpublished decision on the United States Court of Federal Claims’
website, in accordance with the E-Government Act of 2002, Pub. L. No. 107 347, § 205, 116 Stat. 2899,
2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each
party has 14 days within which to file a motion for redaction “of any information furnished by that party
(1) that is trade secret or commercial or financial information and is privileged or confidential, or (2) that
are medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion
of privacy.” In the absence of such motion, the entire decision will be available to the public. Id.


                                                      1
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42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and
appropriate. Accordingly, the undersigned hereby awards the amount of $17,616.67, in the
form of a check made payable jointly to Petitioner and Petitioner’s counsel, John R. Howie,
Jr.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 2

        IT IS SO ORDERED.

                                                                  /s/ Lisa D. Hamilton-Fieldman
                                                                  Lisa D. Hamilton-Fieldman
                                                                  Special Master




        2
          Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                     2
